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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                      :
                                              :
                v.                            :
                                              :
ETHAN NORDEAN                                 :
JOSEPH BIGGS                                  :       Criminal No. 21-CR-0175 (TJK)
ZACHARY REHL                                  :
CHARLES DONOHOE                               :
ENRIQUE TARRIO                                :
DOMINIC PEZZOLA                               :



                                        STATUS REPORT

         Pursuant to the Court’s Minute Order of March 25, 2022, undersigned counsel proposes that

by June 30, 2022, she believes she should be able to complete a conflicts evaluation and prepare a

written report and recommendation to the Court regarding whether John Daniel Hull's representation

of Joseph R. Biggs in the above-captioned case and of Enrique Tarrio in other matters creates any

conflict of interest and, if so, whether Messrs. Biggs and Tarrio can waive any conflict(s) that may

exist.

         By way of explanation for the June 30, 2022, proposed date, undersigned counsel states that

her preliminary review of the relevant Rules of Professional Conduct, will necessitate her speaking

directing with each Joseph Biggs and Enrique Tarrio as well as with each of their counsel, i.e., John

Daniel Hull, and Nayib Hassan and Sabino Jauregui. As such, undersigned counsel anticipates

needing contact information for each Joseph Biggs and Enrique Tarrio. Moreover, because Messrs.

Biggs and Tarrio are represented parties and undersigned counsel will need to speak with them

regarding the matter(s) in which they are represented, undersigned counsel respectfully requests an
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Order from the Court authorizing such direct communication with represented parties regarding the

matters in which they are represented so as not to violate Rule of Professional Conduct 4.21 and further

respectfully requests an Order authorizing the Pretrial Services Agency to disclose contact

information for Messrs. Biggs and Tarrio to undersigned counsel.

        In addition, undersigned counsel believes that her other obligations and commitments, and the

unusual issues posed by the situation in this case, preclude her being able to complete a Report and

Recommendation before the end of June 2022.



Dated: April 6, 2022                             Respectfully submitted,

                                                 s/Santha Sonenberg
                                                 ___________________________________
                                                 Santha Sonenberg (D.C. Bar No. 376-188)
                                                 (202) 494-7083
                                                 santhasonenberg@yahoo.com




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 Rule 4.2: Communication Between Lawyer and Person Represented by Counsel: (a) During the
course of representing a client, a lawyer shall not communicate or cause another to communicate about
the subject of the representation with a person known to be represented by another lawyer in the matter,
unless the lawyer has the prior consent of the lawyer representing such other person or is authorized by
law or a court order to do so. (emphasis supplied).

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